Case 0:19-cr-60200-FAM Document 125 Entered on FLSD Docket 12/19/2019 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 19-60200-CR-MORENO (COHN)

UNITED STATES OF AMERICA,

Plaintiff,
VS.
SEBASTIAN AHMED,
Defendant.

 

ORDER
The Court hereby informs the parties that the Honorable James I. Cohn will preside over
the trial in this matter. A telephonic status conference before Judge Cohn is hereby set for
December 19, 2019 at 10:00 a.m. The parties shall enter their appearances telephonically using
the following dial-in information: Dail-in Number 888-684-8852; Access Code 2699885.
The case number will be referenced as 19-60200-CR-MORENO (COHN).

DONE AND ORDERED in Chambers at Miami, Florida, this 14 day of December

: WEI

FEDERICO MORENO
UNITED STATES DISTRICT JUDGE

cc: Lisa Miller, AUSA
Christopher Clark, AUSA
Joel Hirschhorm, Esq.
U.S. Pretrial Services
